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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, et al.,

         Plaintiffs,
                                                     Case No. 1:25-cv-10338
                       v.

  NATIONAL INSTITUTES OF HEALTH,
  et al.,

         Defendants.


        PLAINTIFF STATES’ MOTION FOR LEAVE TO FILE EXCESS PAGES

       Pursuant to Local Rule 7.1(b)(4), Plaintiff States respectfully request leave to file a 30-

page memorandum in support of their motion for a temporary restraining order. Good cause exists

for Plaintiffs’ request. As reflected in the memorandum itself, this case raises significant

challenges—both substantive and procedural—to a National Institutes of Health (“NIH”) guidance

document that will have an immediate and devastating effect on Plaintiffs and their

instrumentalities. Addressing the basis for those challenges and the need for emergency relief

requires more than the usual 20 pages. The need for excess pages also stems from the compressed

timeline: issued on February 7, the NIH guidance document becomes effective today—the very

next business day—and purports to apply not only to new NIH grants but existing ones, too. For

all these reasons, the Court should allow Plaintiffs to file a 30-page memorandum in support of

their motion for a TRO.




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February 10, 2025                     Respectfully submitted.

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                              LOCAL RULE 7.1 CERTIFICATE

        I, Katherine Dirks, certify that on February 10, 2025, I provided a copy of the foregoing
to the following individuals at the U.S. Department of Justice by electronic mail to provide
notice of this motion:

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        Plaintiffs have not yet had an opportunity to meet and confer with Defendants’ counsel,
but are proceeding with this filing given the need for prompt relief, as set forth in the
memorandum of law in support of Plaintiffs’ motion for a temporary restraining order.

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